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&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/CENTER&gt;
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&lt;STRONG&gt;&lt;CENTER&gt;NO. 03-&lt;A NAME="1"&gt;01&lt;/A&gt;-00&lt;A NAME="2"&gt;285&lt;/A&gt;-CV&lt;/CENTER&gt;
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&lt;STRONG&gt;&lt;/STRONG&gt;&lt;CENTER&gt;&lt;A NAME="3"&gt;In re Sulzer Orthopedics, Inc.&lt;/A&gt;&lt;/CENTER&gt;


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&lt;SPAN STYLE="font-family: Times New Roman" STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;ORIGINAL PROCEEDING FROM TRAVIS &lt;A NAME="5"&gt;&lt;/A&gt;COUNTY&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
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&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;PER CURIAM&lt;/STRONG&gt;&lt;/SPAN&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;	The Court denies Sulzer Orthopedics, Inc.'s motion for emergency temporary relief
and its petition for writ of mandamus.&lt;/SPAN&gt;&lt;/P&gt;

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&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;Before Justices Kidd, B. A. Smith and Yeakel&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;Filed:   June 1, 2001&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;Do Not Publish&lt;/SPAN&gt;&lt;/P&gt;

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